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            IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA,           )
                                    ) No.: 1:20-CR-00306-TWT-CMS
  v.                                )
                                    )
ANTONIO DESHAWN DANIELS,            )
   Defendant.                       )
                                    )
___________________________________ )

                  PRELIMINARY MOTION TO SUPPRESS

      COMES NOW the Defendant, Antonio Deshawn Daniels (hereinafter

“Daniels”), by and through undersigned counsel, pursuant to Fed.R.Crim.P.

12(b)(3)(C), moves this Court for an evidentiary hearing, and an order suppressing

all evidence of any kind and the fruits thereof – including alleged physical evidence,

statements, identification, and testimony—illegally seized by law enforcement

agents in violation of Defendant’s Fourth, Fifth, or Fourteenth Amendment rights,

or Fed.R.Crim.P. 41.

      As grounds thereof, Defendant alleges that the search of Daniels’ person, and

property, and the seizure of items resulting from these searches, were improper,

illegal, and without probable cause, in violation of Defendant’s rights under the

Fourth, Fifth, and Fourteenth Amendments to the United States Constitution:



                                          1
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      1. On July 20, 2020, the Honorable Alan Baverman signed multiple search

warrants for 5 Target locations allegedly associated with Defendant Antonio

Daniels. See 1:20-MC-1246 through 1250.

      2. Those 5 Target locations were the following:

            (a) Target Location # 1: 555 Whitehall Street SW, Unit #,
                                     Atlanta, Georgia
                        Search Warrant 1:20-MC-1246

            (b) Target Location #2: 3039 Clarendale Dr. NW
                                    Atlanta, Georgia
                        Search Warrant 1:20-MC-1247

            (c) Target Location #3: Creekside Corner Apartments
                                    5301 W. Fairington Pkwy., Unit 3106
                                    Lithonia, Georgia
                        Search Warrant 1:20-MC-1248

            (d) Target Location #4: Alter at Brookhaven
                                    3833 Peachtree Rd. NE, Unit 712
                                    Atlanta, Georgia
                        Search Warrant 1:20-MC-1249

            (e) Target Location #5: Alter at Brookhaven
                                    3833 Peachtree Rd. NE, Unit 715
                                    Atlanta, Georgia
                         Search Warrant 1:20-MC-1250

      3. The Affidavit in support of each of these Target locations was contained in

a single, multi-part document prepared by TFO David Noe of the Drug Enforcement

Administration. See Affidavit in support of SW-20-MC-1246.




                                         2
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         4. Each warrant was apparently issued telephonically pursuant to FRCP 4.1.

See e.g., 1:20-MC-1246. Insofar as any record of same may be available, see FRCP

4:1(b)(2)(B), Movant requests same.

         5. Movant has “standing” to assert his constitutional and statutory rights as to

each of the Target locations.1

         6. As to each of the Target locations the subject warrants themselves-given

their precise similarity – are (collectively):

                  (i)       overbroad;
                  (ii)      lack sufficient particularity allowing for the general rummaging
                            through the premises; and
                  (iii)     lack temporal restrictions.

         7. The warrants are not supported by probable cause, inter alia, in the

following particulars:2

                                         Preliminary Information

         The Affidavit kicks off with a recitation of a search conducted some seven (7)

months prior to the instant warrant. A [REDACTED] was searched in Marietta in



1
  As to each of the Target locations, Movant would rely on, inter alia, allegations contained in the Affidavit itself.
  See e.g., United States v. Meran, 2017 U.S. Dist. Lexis 174849; United States v. Penn, 2020 U.S. Dist. Lexis
  189057 (“Put simply, a defendant can meet his or her burden by relying only on evidence given by the
  government.”) The Noe Affidavit is replete with allegations that Movant “routinely spent the night” at Location
  #1, having unrestricted ingress to same; Location #2 as a residence “used” by Movant, at which he (Movant)
  “maintains” a locked room; Movant allegedly rents Location #3; Locations #4 and #5 are apartments that Movant
  clearly has standing in.
2
  The search warrants were issued on July 20, 2020, and executed on July 27, 2020. As an introductory note, the
  first four (4) pages of the Affidavit comprises the “Agent’s Qualifications”, the next page and a half is boilerplate
  allegations regarding activity of “drug traffickers” in general; the next section generalizes about “electronic
  devices”; and, finally, before any probable cause information, the Affiant suggests his “belief”, based on
  “preliminary and tentative” information from others along with his “interpretation”, that probable cause exists.
  That, of course, is up to the Court.

                                                           3
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October 2019. [REDACTED] had a ledger and plenty of money and drugs.3 The

ledger was “analyzed” by two CI’s – both of whom expect “consideration” for their

cooperation. An alleged summary of the ledger – giving credit to the CI information

as well as Mr. [REDACTED] – show the last activity relating to Movant was in

November of 2018.

           After this discovery, a wiretap assault began4 on March 31, 2020.

                            Target Location #1: As to the wiretap summaries contained in
                            the Noe Affidavit, the last phone conversation alleged in the
                            Affidavit relating to Location #1 was May 22, 2020, almost two
                            months prior to seeking the warrant for this location.

                            Target Location #2: The wiretap conversation regarding
                            Location #2 reveals that other than “meeting” at that location
                            (¶46, p. 29) there was a purported discussion of “Arizona”
                            (marijuana) which was in May 2020. In fact, according to the
                            summaries, in June and early July, Patterson was imploring
                            Movant to “make her first” if Movant got his “package”. That
                            is, Patterson was out of product. What makes Noe believe that
                            anything would be found at Location #2?

                            Target Location #3: The last interception relating to Location
                            #3 comes on May 25, 2020. Indeed, surveillance that day
                            allegedly showed Movant carrying a “shoe bag” into the
                            apartment location. Really? That’s it? If that’s all it takes to get
                            a search warrant – almost two months prior – the Fourth
                            Amendment is a dead letter!

                            Target Location #4 and #5: Location #4 is Movant’s “primary
                            location” – it is rented in his name, and the power bill is in his




3
    Apparently [REDACTED] had 13 kilos of cocaine and $690,000 in cash.
4
    There was monitoring on 6 phones used by Movant – a subject which will be dealt with by a separate motion.

                                                          4
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                            name. And, holy cow, agents intercepted phone conversations
                            about “discussing the parking spaces” assigned to Location #5.5
                             Likewise, the Noe Affidavit relates an April 17, 2020, stop of
                            Reeves “just South of Macon”. During that stop, agents
                            allegedly seized procaine – not Schedule I or II drugs. Likewise,
                            a search at 650 Fairburn Dr. was derailed. (¶63, pp. 39-40).
                            What you may ask, has this to do with probable cause for
                            Locations #4 and #5? Easy answer – nothing.
                            Finally, the fact that Movant may have met unnamed
                            coconspirators “by the pool” at the alter is unconvincing. Like
                            any alleged communications in April 2020 (¶’s 70-74 pp. 44-46).
                            No information that any of the sought-after items would be found
                            in either location.

           In short, the subject Affidavit falls far short of establishing probable cause that

the sought-after items would be found at the Target locations. The information is

based on

           (1) unreliable sources [Lee v. Illinois, 476 U.S. 530 (1986); Williamson v.
               United States, 512 U.S. 594 (1994)]

           (2) speculation;

           (3) stale information;

           (4) lack of nexus to the place searched;

           (5) lack of specific information as to the items to be seized.

           WHEREFORE, Movant respectfully requests that this Court grant an

evidentiary hearing and suppress the improperly obtained evidence against him in




5
    Location #5 is rented in the name of Lorene Reeves AKA Bada Bing. Movant has paid the rent for Location #5.
    (¶61, p. 38).

                                                         5
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this case and reserves his right to amend this Preliminary Motion to Suppress to

further particularize same subsequent to receipt of any additional discovery.

      This 10th day of September 2021.



                                       Respectfully submitted,


                                       /s/ Bruce S. Harvey
                                       LAW OFFICE OF BRUCE S. HARVEY
                                       ATTORNEY FOR DEFENDANT
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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and

foregoing pleading upon opposing counsel by using the Court’s CM/ECF system

which will deliver a copy to all registered to receive service via CM/ECF,

addressed as follows:

                                       Nicholas Hartigan, AUSA
                                       Office of the United States Attorney
                                       600 United States Courthouse
                                       75 Ted Turner Dr., S.W.
                                       Atlanta, GA 30303

      This 10th day of September 2021.



                                       /s/ Bruce S. Harvey
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                                       ATTORNEY FOR DEFENDANT
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